Case 15-15969-elf         Doc 46   Filed 04/25/16 Entered 04/25/16 07:29:16           Desc Main
                                    Document Page 1 of 1


                      IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF £ENNSYLVANIA


  In Re:
           Elaine Jones                                        Case No.: : I '5-   15"9 LP°r
  Debtor(s)                                                    Chapter 13

                                              ORDER

           AND NOW, upon consideration of the Application for Compensation ("the

  Application") filed by the Debtor(s)' counsel ("the Applicant") and upon the Applicant's

  certification that proper service has been made on all interested parties and upon the

  Applicant's certification of no response,

           It is hereby ORDERED that:

  1. The Application is GRANTED.

  2. Compensation is ALLOWED in favor of the Applicant in the amount of$3,670.00

  3. The Chapter 13 Trustee chapter 13 is authorized to distribute to the Applicant as an

     administrative expense pursuant to 11 U.S.C. §1326(b), 11 U.S.C. §507, 11 U.S.C.

     §503(b) and 11 U.S.C. §330(a)(4)(B), the allowed compensation set forth in if2 less

     $2,582.00 which was paid by the Debtor(s) prepetition, to the extent such distribution

     is authorized under the terms of the confirmed chapter 13 plan.



  Dated:    4/25/16




                                                       Hon. Chief Judge Eric L. Frank
